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                                       EXHIBIT B

                                   Schultea Declaration




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                        Chapter 11

FTX TRADING LTD., et al., 1                                   Case No. 22-11068 (JTD)

         Debtors.                                             (Jointly Administered)



 DECLARATION OF KATHRYN SCHULTEA IN SUPPORT OF DEBTORS’ MOTION
               FOR AN ORDER AUTHORIZING AND APPROVING
(I) THE RETENTION AND EMPLOYMENT OF RLKS EXECUTIVE SOLUTIONS LLC
 AND (II) DESIGNATING THE CHIEF OFFICERS AS OFFICERS OF THE DEBTORS
                  NUNC PRO TUNC TO NOVEMBER 15, 2022

                  I, Kathryn Schultea, hereby make this declaration (the “Declaration”) under

penalty of perjury pursuant to 28 U.S.C. § 1746 and state as follows:

                  1.      I am the President and Chief Operating Officer of RLKS Executive

Solutions LLC, a reorganization and consulting firm (“RLKS”). I am duly authorized to make

this Declaration on behalf of RLKS and submit this Declaration in support of the Debtors’

Motion (the “Motion”) 2 for entry of an order (the “Order”), pursuant to sections 105(a) and

363(b) of title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”)

and rule 6004 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),

authorizing and approving (a) the employment and retention of RLKS pursuant to the terms and

conditions of that certain letter agreement between RLKS and FTX Trading Ltd. dated as of

November 15, 2022, nunc pro tunc to the November 15, 2022 and (b) (i) my designation as Chief


1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
    list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX.
2
    Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Motion.


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Administrative Officer (“CAO”) of the Debtors nunc pro tunc to November 15, 2022, (ii) the

designation of Mary Cilia as Chief Financial Officer (“CFO”) of the Debtors nunc pro tunc to

November 15, 2022 and (iii) the designation of Raj Perubhatla as Chief Information Officer

(“CIO”) of the Debtors nunc pro tunc to November 15, 2022 (collectively, the “Chief Officers”).

Except as otherwise noted, I have personal knowledge of the matters set forth herein and, if

called as a witness, I would testify thereto. Certain of the disclosures set forth herein related to

matters within the knowledge of other employees of RLKS and are based on information

provided by them.

                                      RLKS’s Qualifications

                  2.   RLKS and the Chief Officers have extensive experience in areas relevant

to financial reorganization.

                  3.   From 1999 to 2009, Ms. Cilia and I served as employees, and from 2009

to 2015, served as consultants, of Enron Corp., now known as Enron Creditors Recovery Corp

(“Enron”). In addition, Mr. Perubhatla served as an independent consultant to Enron during this

period. As consultants, Ms. Cilia and I were retained to wind down the business under the

direction of then-President and Chairman of Enron, John J. Ray III. I served as an officer

reporting to Mr. Ray during the winding down of Enron, but RLKS was not retained.

                  4.   From 2010 to 2022, the other Chief Officers and I have served as

consultants to Nortel Networks Inc. and its U.S.-based affiliates (collectively, “Nortel”), certain

of which filed for Chapter 11 bankruptcy protection (Case No. 09-10138) in the United States

Bankruptcy Court for the District of Delaware, on January 14, 2009 (the “Nortel Cases”). In that

capacity, Ms. Cilia and I have served as officers of Nortel, and Mr. Perubhatla has been engaged

as a consultant through RLKS. As officers, and under the oversight of Mr. Ray as the principal




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officer, Ms. Cilia and I have managed the winding down of the businesses through our oversight

of general finance, accounting and treasury, information technology and administrative matters

including HR, real-estate, document preservation and management, and claims management and

distribution processing.

                  5.   From 2012 to 2015, the other Chief Officers and I served as consultants

for Overseas Shipholding Group, Inc. and certain of its affiliates (collectively, “OSG”), which

filed for Chapter 11 bankruptcy protection, Case No. 12-20000, in the United States Bankruptcy

Court for the District of Delaware, on November 14, 2012 (the “OSG Cases”). In that capacity,

the Chief Officers and I assisted Mr. Ray in his role as Chief Reorganization Officer of the OSG

debtors and provided oversight and support to the other professions involved in the execution of

OSG’s business plan, sales process and administration of the Chapter 11 cases.

                  6.   From 2020 to 2022, Ms. Cilia and I have served as consultants to Ditech

Holding Corporation and its affiliates (collectively, “Ditech”), certain of which filed for Chapter

11 bankruptcy protection (Case No. 19-10412) in the United States Bankruptcy Court for the

Southern District of New York, on February 11, 2019 (the “Ditech Cases”). In that capacity, Ms.

Cilia and I have served as officers of Ditech, and Mr. Perubhatla has been engaged as a

consultant through RLKS. As officers, and under the oversight of Mr. Ray as Ditech’s principal

officer, Ms. Cilia and I have managed the winding down of the businesses through our oversight

of general finance, accounting and treasury, information technology and administrative matters

including HR, real-estate, document preservation and management, and claims management and

distribution processing.

                  7.   RLKS, Mary Cilia, Raj Perubhatla and I are well-qualified and able to

continue to provide reorganization management and advisory services to the Debtors in a cost-




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effective, efficient, and timely manner. I have assumed the position of CAO of the Debtors,

effective as of November 15, 2022, and agree to continue my service to the Debtors in that

capacity and to subject myself to the jurisdiction and supervision of the Court.

                                     Services to Be Provided

                  8.    The Debtors have hired RLKS pursuant to the terms and conditions set

forth in the Engagement Letter. A copy of the Engagement Letter is attached to the Motion as

Exhibit A.

                  9.    Pursuant to the Engagement Letter, RLKS and the Debtors have appointed

me as the Debtors’ CAO, Ms. Cilia as the Debtors’ CFO and Mr. Perubhatla as Debtors’ CIO,

effective as of November 15, 2022, and have agreed to RLKS’s provision of additional personnel

to support the reorganization efforts of the Debtors as needed (the “Additional Personnel”).

Working under the direction of the CEO and collaboratively with the Debtors’ management

team, as well as the Debtors’ other professionals, I, as CAO, along with the other Chief Officers

and any necessary Additional Personnel, will continue to provide services in connection with

these Chapter 11 Cases and perform all duties that are usual and customary for our respective

executive positions, including, without limitation, accounting and treasury, financial analysis,

audits and cash flow forecast, information technology, human resource management, claims

management and such other related functions as assigned by the Debtors’ CEO.



                                    RLKS’s Disinterestedness

                  10.   To the best of my knowledge, information and belief, insofar as I have

been able to ascertain after reasonable inquiry by myself or other RLKS employees, other than in

connection with this engagement, neither I, nor RLKS, nor any of its employees, agents or




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affiliates, have any connection with the Debtors, their creditors, the U.S. Trustee, or any other

party with an actual or potential interest in these Chapter 11 Cases, or their respective attorneys

or accountants, except as set forth below.

                  11.   RLKS is not employed by, and has not been employed by, any entity other

than the Debtors in matters related to these Chapter 11 Cases, except as described herein.

                  12.   In various capacities, RLKS, Ms. Schultea, Ms. Cilia and Mr. Perubhatla

have collaborated with Mr. Ray on a number of cases, including the Nortel Cases, the Ditech

Cases, the OSG Cases and in the Chapter 11 proceedings of Abitibi Bowater (Case No. 09-

11296) in the United States Bankruptcy Court for the District of Delaware. In these Chapter 11

Cases, Mr. Ray is being retained separately from RLKS, and is filing his own retention motion

with this Court pursuant to section 363(b) of the Bankruptcy Code.

                  13.   RLKS’s personnel may have business associations with certain creditors

of the Debtors unrelated to these Chapter 11 Cases. In addition, in the ordinary course of its

business, RLKS may engage counsel or other professionals in unrelated matters who now

represent, or who may in the future represent, creditors or other parties-in-interest in these

Chapter 11 Cases.

                  14.   In connection with the preparation of this Declaration, RLKS conducted a

review of its (and its affiliates’ and employees’) contacts with the Debtors, their non-debtor

affiliates, and certain entities holding large claims against or interest in the Debtors that were

made reasonably known to RLKS. A listing of the parties reviewed is reflected in Schedule 1

attached to this Declaration. RLKS’s review consisted of a query of the Schedule 1 parties

containing names of individuals and entities that are represented by RLKS.




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                  15.   Based on the results of its review, RLKS (including its affiliates and

employees) does not have a relationship with any of the parties listed in Schedule 1 in matters

related to these Chapter 11 Cases except as set forth herein. RLKS’s assistance to these parties

has been related to providing various consulting services. To the best of my knowledge, no

services have been provided to these parties-in-interest which involve their rights in these

Chapter 11 Cases, nor does RLKS’s involvement in this case compromise its ability to continue

such consulting services.

                  16.   Further, as part of its diverse practice, RLKS or its professional affiliates

appear in numerous cases, proceedings, and transactions that involve many different

professionals, including attorneys, accountants, and financial consultants, who may represent

claimants and parties-in-interest in these Chapter 11 Cases. Further, RLKS (including its

affiliates and employees) has performed, in the past, and may perform in the future, consulting

services for various attorneys and law firms, and has been represented by several attorneys and

law firms, some of whom may be involved in these proceedings. Based on RLKS’s current

knowledge of the professionals involved, and to the best of my knowledge, none of these

relationships creates interests materially adverse to the Debtors, and none is in connection with

these Chapter 11 Cases.

                  17.   On a going forward basis, RLKS shall disclose any and all facts that may

have a bearing on whether the firm, its affiliates, and/or any individuals working on the

engagement hold or represent any interest adverse to the Debtors, their creditors, or other parties-

in-interest.

                  18.   RLKS (including its affiliates and employees) and I do not believe either

of us is a “creditor” of any of the Debtors within the meaning of section 101(1) of the




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Bankruptcy Code. Further, neither I, RLKS (including its affiliates and employees) nor any of

the Additional Personnel serving the Debtors, to the best of my knowledge, is a holder of any of

the Debtors’ outstanding debt, equity or preferred stock investments.

                  19.   RLKS is a “disinterested person” as that term is defined in 11 U.S.C. §

101(14), in that RLKS (including its affiliates and employees):

                  a.    Is not a creditor (including by reason of unpaid fees and
                        expenses for pre-petition services), equity security holder or
                        insider of the Debtors;

                  b.    Is not and was not, within two (2) years before the date of the
                        filing of the Chapter 11 Cases, a director, officer, or
                        employee of the Debtors; and

                  c.    Does not have an interest materially adverse to the interest
                        of the estates or of any class of creditors or equity security
                        holders, by reason of any direct or indirect relationship to,
                        connection with, or interest in, the Debtors or for any other
                        reason.

                  20.   As noted above, from 2012 to 2015, I served as a consultant to the OSG

debtors, along with the other Chief Officers. From 2019 to 2022, I have served as a consultant to

the Ditech debtors, along with the other Chief Officers, and from 2010 to 2022, certain principals

of RLKS have been retained as consultants to the Nortel debtors. The Nortel Cases, the Ditech

Cases and the OSG Cases are unrelated to these Chapter 11 Cases, and none of the Nortel

debtors, the Ditech debtors or the OSG debtors are creditors of the Debtors.

                  21.   Despite the efforts described above to identify and disclose RLKS’s

connections with parties-in-interest in these Chapter 11 Cases, RLKS is unable to state with

certainty that every client relationship or other connection has been disclosed. In this regard, if

RLKS discovers additional information that requires disclosure, RLKS will file a supplemental

disclosure with the Court.




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                  22.    Subject to Court approval, RLKS will seek payment for compensation on

an hourly basis for the services outlined in the Motion, and reimbursement of actual and

necessary expenses incurred by RLKS.

                  23.    Prior to the Petition Date, RLKS did not receive any payments from the

Debtors.

                  24.    To the best of my knowledge, (a) no commitments have been made or

received by RLKS with respect to compensation or payment in connection with these Chapter 11

Cases other than in accordance with the provisions of the Bankruptcy Code, and (b) RLKS has

no agreement with any other entity to share with such entity any compensation received by

RLKS in connection with these Chapter 11 Cases.

                  25.    I have read the Motion and, to the best of my knowledge, information and

belief, the contents of the Motion are true and correct.

                  26.    RLKS reserves the right to supplement this Declaration in the event that

RLKS discovers any facts bearing on matters described in this Declaration regarding RLKS’s

employment with the Debtors.

                  I declare under penalty of perjury that the foregoing is true and correct.


Dated: December 21, 2022                              Respectfully submitted,
       New York, New York
                                                      /s/ Kathryn Schultea
                                                      Kathryn Schultea
                                                      Chief Administrative Officer




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                      SCHEDULE 1
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                                                  FTX Trading – Redacted Parties in Interest1

    5% or More Equity Holders                                                     Evolve Bank and Trust
    Edward Moncada                                                                Far Eastern Int'l Bank
    Nishad Singh                                                                  Fibabanka
    Name On File                                                                  Fidelity Bank (Bahamas)
    Samuel Bankman‐Fried                                                          Garanti BBVA
    Zixiao Wang                                                                   Goldfields Money
    Ad Hoc Committee (Non US Customers of FTX.com)                                HDFC Bank
    Eversheds Sutherland (Us) LLP                                                 HSBC Bank
    Morris, Nichols, Arsht & Tunnell LLP                                          Interactive Brokers
    Bankruptcy Judges                                                             JPMorgan Chase Bank, N.A.
    Ashely M. Chan                                                                Jtrust Bank
    Brendan L. Shannon                                                            Klarpay
    Craig T. Goldblatt                                                            LendingClub
    John T. Dorsey                                                                Maerki Baumann & Co. AG
    Karen B. Owens                                                                Moneytech
    Kate Stickles                                                                 Moonstone Bank
    Laurie Selber Silverstein                                                     Morgan Stanley
    Mary F. Walrath                                                               MUFG Bank, LTD.
    Una O'Boyle (Clerk of Court)                                                  National Australia Bank
    Bankruptcy Professionals                                                      Nium
    Ernst & Young                                                                 Nuvei
    Quinn Emanuel Urquhart & Sullivan, LLP                                        Octabase
    AlixPartners, LLP                                                             Omipay / Cuscal
    Alvarez & Marsal North America, LLC                                           PayPay Bank
    Kroll Restructuring Administration                                            Paysafe
    Landis Rath & Cobb LLP                                                        Prime Trust LLC
    Perella Weinberg Partners                                                     Rakuten Bank
    Sullivan & Cromwell LLP                                                       RJ O'Brien
    Banks/Lender/UCC Lien Parties/Administrative Agents                           SBI Sumishin Net Bank Ltd.
    AKBANK                                                                        Signature Bank
    Apple Business                                                                Signet
    Bank of America                                                               Silicon Valley Bank
    Bank of Cyprus                                                                Silvergate Bank
    BCB Bank                                                                      Siraat Banksai
    BMO Harris Bank, N.A.                                                         Standford Credit Union
    Circle Internet Financial, Inc.                                               Strait X
    Commercial Bank of Dubai                                                      Stripe
    Commerical Bank of Vietnam                                                    Sumitomo Mitsui Banking Corporation (SMBC)
    Customers Bank                                                                Swapforex
    DBS Bank Limited                                                              Tokyo Star Bank
    Deltec                                                                        Transactive
    ED&F Man Holdings Inc.                                                        Transfero
    Emirate NBD Bank                                                              Turicum
    Equity Bank                                                                   Vakifbank
    Etana                                                                         Volksbank Bayern Mitte eG
    Eurobank                                                                      Washington Business Bank


1
  Pursuant to the Interim Order (I) Authorizing the Debtors to Maintain A Consolidated List of Creditors in Lieu of Submitting a Separate Matrix for Each
Debtor, (II) Authorizing the Debtors to Redact or Withhold Certain Confidential Information of Customers and Personal Information of Individuals on an
Interim Basis and (III) Granting Certain Related Relief [D.I. 157], the names of customers and individuals whom the Debtors believe may be citizens of
the United Kingdom or a European Union member country are redacted.

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Wells Fargo                                            Name On File
Western Alliance                                       Jeremy Cranford
Zand Bank                                              Name On File
Contract Counter‐Parties                               Joele Frank
AC Revocable Trust                                     Kariya Kayamori
Adresana Limited                                       Name On File
AIM Sports, LLC                                        Kevin O'Leary
Name On File                                           Name On File
Name On File                                           Larnabell Enterprises Limited
Name On File                                           Laura Larissa Hanna
Alpaca Crypto LLC                                      Ledger SAS
AlteumX International S.A.                             Lightspeed Management Company, LLC
Name On File                                           Lincoln Holdings LLC DBA Monumental Sports & Entertainment
Name On File                                           Lorem Ipsum UG
Name On File                                           Name On File
Name On File                                           Name On File
Barstool Sports Inc.                                   Major League Baseball Clubs
Billboard Media, LLC                                   Major League Baseball Properties, Inc
Binance Capital Management Co. Ltd.                    Mark Khalil
BitGo                                                  Medium Rare Live, LLC
BITOCTO                                                Meow Technologies Inc.
BlockFi Inc.                                           Mercedes‐Benz Grand Prix Limited
Brandon Williams                                       Name On File
Brave Software International SEZC                      MLB Advanced Media, L.P
Name On File                                           MMBOC, LLC
Cal Athletics                                          MPG Live Ltd
Chainalysis                                            Multicoin Capital
Coachella Music Festival, LLC                          Nardello & Co. LLC
David Ortiz                                            Naomi Osaka
David Ortiz Children’s Fund                            O’Leary Productions Inc.
Name On File                                           Office of the Commissioner of Baseball
Diego Perez de Ayala                                   Paradigm
Digital Assets DA AG                                   Patrick Gruhn
Digital Finance Group Company                          Paul Forest
Dolphin Entertainment, Inc.                            Paxos Trust Company, LLC
Name On File                                           Name On File
Elvia Delgadillo                                       Play Magnus Group
Exodus Movement, Inc.                                  PointUp Inc.
Fortune Cookie                                         Proper Trust AG
FOX SPORTS SUN, LLC                                    PT Datindo Infonet Prima
Name On File                                           Race Capital
FTI Consulting, Inc.                                   Radegen Sports Management LLC
Furia ESports LLC                                      Rebecca Lowe
Galois Capital                                         Reddit, Inc.
Gisele Caroline Bündchen                               Ribbit Capital
Golden State Warriors                                  Rick Fox
Gpay Network Pte. Ltd.                                 Riot
Growflint Technologies Pvt. Ltd.                       Name On File
HashKey Blockchain Investment Fund                     SC30 Inc.
HODL Media, Inc.                                       Name On File
ICC Business Corporation FZ LLC                        Shohei Ohtani
Idealex Services OU                                    Name On File
IEX Group, Inc.                                        Stephen Curry
iVest+                                                 StockTwits, Inc.
Name On File                                           Swift Media Entertainment, Inc
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Sygnia Consulting                                      Name On File
The MLB Network, LLC                                   Name On File
The Sequoia Fund, L.P.                                 Name On File
Thoma Bravo                                            Name On File
TL INTERNATIONAL BV                                    Name On File
TokenBot International Ltd.                            Name On File
Tom Brady                                              Name On File
TradingView Inc                                        Name On File
Trevor Lawrence                                        Name On File
TrustToken                                             Name On File
Twig USA Inc                                           Name On File
Udonis Haslem                                          Name On File
UJH Enterprises                                        Name On File
Veridian Development Group Ltd.                        Name On File
Yahoo Inc.                                             Name On File
Yuga Labs, Inc.                                        Name On File
Customers                                              Name On File
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Name On File                                           Name On File
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Name On File                                           Name On File
Name On File                                           Debtors
Name On File                                           Alameda Aus Pty Ltd
Name On File                                           Alameda Global Services Ltd.
Name On File                                           Alameda Research (Bahamas) Ltd
Name On File                                           Alameda Research Holdings Inc.
Name On File                                           Alameda Research KK
Name On File                                           Alameda Research LLC
Name On File                                           Alameda Research Ltd
Name On File                                           Alameda Research Pte Ltd
Name On File                                           Alameda Research Yankari Ltd
Name On File                                           Alameda TR Ltd
Name On File                                           Alameda TR Systems S. de R. L.
Name On File                                           Allston Way Ltd
Name On File                                           Analisya Pte Ltd
Name On File                                           Atlantis Technology Ltd.
Name On File                                           Bancroft Way Ltd
Name On File                                           Blockfolio, Inc.
Name On File                                           Blue Ridge Ltd
Name On File                                           Cardinal Ventures Ltd
Name On File                                           Cedar Bay Ltd
Name On File                                           Cedar Grove Technology Services, Ltd
Name On File                                           Clifton Bay Investments LLC
Name On File                                           Clifton Bay Investments Ltd
Name On File                                           Cottonwood Grove Ltd
Name On File                                           Cottonwood Technologies Ltd.
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Crypto Bahamas LLC                                                   Liquid Securities Singapore Pte Ltd.
DAAG Trading, DMCC                                                   LiquidEX LLC
Deck Technologies Holdings LLC                                       LT Baskets Ltd.
Deck Technologies Inc.                                               Maclaurin Investments Ltd.
Deep Creek Ltd                                                       Mangrove Cay Ltd
Digital Custody Inc.                                                 North Dimension Inc
Euclid Way Ltd                                                       North Dimension Ltd
FTX (Gibraltar) Ltd                                                  North Wireless Dimension Inc
FTX Canada Inc                                                       Paper Bird Inc
FTX Certificates GmbH                                                Pioneer Street Inc.
FTX Crypto Services Ltd.                                             Quoine India Pte Ltd
FTX Digital Assets LLC                                               Quoine Pte Ltd
FTX Digital Holdings (Singapore) Pte Ltd                             Quoine Vietnam Co. Ltd
FTX EMEA Ltd.                                                        SNG INVESTMENTS YATIRIM VE DANIŞMANLIK ANONİM ŞİRKETİ
FTX Equity Record Holdings Ltd                                       Strategy Ark Collective Ltd.
FTX EU Ltd.                                                          Technology Services Bahamas Limited
FTX Europe AG                                                        Verdant Canyon Capital LLC
FTX Exchange FZE                                                     West Innovative Barista Ltd.
FTX Hong Kong Ltd                                                    West Realm Shires Financial Services Inc.
FTX Japan Holdings K.K.                                              West Realm Shires Inc.
FTX Japan K.K.                                                       West Realm Shires Services Inc.
FTX Japan Services KK                                                Western Concord Enterprises Ltd.
FTX Lend Inc.                                                        Zubr Exchange Ltd
FTX Marketplace, Inc.                                                Director/Officer
FTX Products (Singapore) Pte Ltd                                     Name On File
FTX Property Holdings Ltd                                            Name On File
FTX Services Solutions Ltd.                                          Andy Fisher
FTX Structured Products AG                                           Arthur Thomas
FTX Switzerland GmbH                                                 Name On File
FTX Trading GmbH                                                     Name On File
FTX Trading Ltd                                                      Can Sun
FTX TURKEY TEKNOLOJİ VE TİCARET ANONİM ŞİRKET                        Caroline Ellison
FTX US Services, Inc.                                                Caroline Papadopoulas
FTX US Trading, Inc                                                  Name On File
FTX Ventures Ltd                                                     Name On File
FTX Zuma Ltd                                                         Constance Wang
GG Trading Terminal Ltd                                              Corporate & Trust Services Limited
Global Compass Dynamics Ltd.                                         Dan Friedberg
Good Luck Games, LLC                                                 Name On File
Goodman Investments Ltd.                                             Diana Aidee Munoz Maclao De Camargo
Hannam Group Inc                                                     Edward Moncada
Hawaii Digital Assets Inc.                                           Gary Wang
Hilltop Technology Services LLC                                      Name On File
Hive Empire Trading Pty Ltd                                          Name On File
Innovatia Ltd                                                        Name On File
Island Bay Ventures Inc                                              Jen Chan
Killarney Lake Investments Ltd                                       John J. Ray
Ledger Holdings Inc.                                                 John Samuel Trabucco
Ledger Prime LLC                                                     Jonathan Cheesman
LedgerPrime Bitcoin Yield Enhancement Fund, LLC                      Joseph J. Farnan
LedgerPrime Bitcoin Yield Enhancement Master Fund                    Name On File
LedgerPrime Digital Asset Opportunities Fund, LLC                    Kariya Kayamori
LedgerPrime Digital Asset Opportunities Master Fund LP               Name On File
LedgerPrime Ventures, LP                                             Larry Thompson
Liquid Financial USA Inc.                                            Name On File
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Luk Wai Chan                                             Hurry Up Slowly
Name On File                                             Laureus Sport for Good
Name On File                                             Majority Forward
Mark Wetjen                                              Managed Funds Association
Name On File                                             National Council of Social Service
Name On File                                             New Jersey Scholars
Name On File                                             Neworld One Bay Street ‐ Margaritaville Beach Resort Nassau
Matt Rosenberg                                           RESource D.C
Matthew Doheny                                           Rethink Priorities
Matthew Ness                                             Seattle Approves
Name On File                                             Stanford School of Medicine
Michael McCarty                                          Stanford University
Michael Watson                                           Stanford University Development
Mitch Sonkin                                             The Center for Election
Name On File                                             Name On File
Name On File                                             UC Berkeley Foundation
Name On File                                             UDONIS HASLEM CHILDRENS FOUNDATION
Nishad Singh                                             Insurance
Name On File                                             Ascot Insurance Company
Name On File                                             Continental Casualty Company
Name On File                                             Endurance Worldwide Insurance Ltd., Zurich Insurance Plc,
Name On File                                             HDI Global Specialty SE
Rishi Jain                                               Lloyd’s America, Inc.
Name On File                                             Massachusetts Bay Insurance Company
Ryan Salame                                              Paragon International Insurance Brokers Limited
Ryne Miller                                              QBE Insurance Corporation
Samuel Bankman‐Fried                                     Relm Insurance Ltd.
Name On File                                             StarStone National Insurance Company
Serhat Aydin                                             The Hanover Insurance Group
Name On File                                             The Travelers Insurance Company
Shiliang Tang                                            Travelers Property Caualty Company of America
Name On File                                             United Fire Group
Sina Nader                                               USI Insurance Services, LLC‐CL
Name On File                                             Investments/Acquisitions
Takashi Hidaka                                           1Inch
Terence Choo                                             3Commas Technologies
Name On File                                             5D
Venu Palaparthi                                          6529 NFT Fund
Wang Zhe                                                 6th Man Ventures Fund
Wing Man Charis Law (Charis Law)                         80 Acres
Wong Jing Yu                                             Acala
Zach Dexter                                              AFK Ventures LLC
Zhe Wang                                                 Name On File
Donations                                                Alder Labs
amfAR                                                    Alethea
Arbor Day Foundation                                     Aligned AI
Berkley Existential Risk Initiative                      Altimeter Growth Partners Fund VI, L.P.
Care for Special Needs Children Foundation               Alvea, LLC
Center for Effective Altruism                            Anchorage
Clinton Health Access                                    Ancient8
David Ortiz Children's Fund                              AngelList
Eat.Learn.Play                                           Anthropic
Eldera, Inc.                                             Anysphere Inc
GWWC                                                     Aptos
Honnold Foundation                                       Arcana
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Archax                                                              CoinMARA
Arnac                                                               Collide Capital Fund I
Arrow                                                               Com2Us
Artemis                                                             Composable
Asymmetric Technologies LP                                          Compound Financial
ATMTA, Inc. / Star Atlas                                            Confirm Solutions Inc
Atomic Vaults                                                       Conjecture
ATTN (EVOSverse)                                                    Connect3 / Lab3 Technology Limited
Auradine, Inc.                                                      Consensys
Aurigami / Vaus Limited                                             Critical Ideas, Inc.
Aurory                                                              Cryowar
Autograph                                                           Curated
Automata                                                            DaoSqaure
Avara Labs / LENS                                                   Darkfi
AVECRIS Research Corporation Pte. Ltd. (Project Door)               Dave Inc
Aver Protocol                                                       decimated
Axelar Network                                                      Defi
Bastion / Bengine, Inc.                                             Defi Alliance
BetDEX                                                              Delphia Holdings Corp
BiLira (Series A ‐ Class E)                                         Delta One
Bitmain Fund L.P.                                                   Delysium / KUROSEMI INC.
Bitnob Technologies                                                 Digital Assets DA AG
Bitnomial                                                           Distributed Ledger Technology
BitOasis                                                            DLT Climate Tech
Bitocto (exchange Indo) / PT Triniti                                DoDo
Blockbeats News                                                     DoinGud
Blockchain Space / Solutions Lab Consultancy Pte Ltd                DoNotPay
Blocto                                                              Doodles
Bluebook Cities                                                     Doppel Inc
Bond Fund III                                                       Dorahack
Bonzai Finance                                                      Drift
Bridge Technologies (BRG Token)                                     DriveWealth
Brinc Drones                                                        Dropp
Browder Capital                                                     Dtrade
BTC Africa, S.A., (dba AZA Finance)                                 Dune Analytics
Burnt                                                               Dust Labs, Inc
Canonical Crypto Fund                                               edenbrawl / Worldspark Studios, Inc
Cardinal (Nexus Pro)                                                EFAS / Kepler Space Industries
Causal Inc                                                          Efficient Frontier / Odyssey Technologies Limited
CCAI / Aldin                                                        Eizper Chain
Cega Pte Ltd                                                        Elementus
Celesita Network                                                    Elumia
Ceres Protocol Inc / Mythos tokens                                  Equator Therapeutics
Change Up                                                           EquiLibre Tecnologies Inc.
chillchat                                                           Ethereal Ventures Fund I LP
China V Investors L.P.                                              Euclid Labs / Magic Eden Secondary Shares
China Venture Capital Fund                                          Euler
Chingari                                                            Evme Inc
Chipper Cash / Critical Ideas Inc                                   Exodus
Circle Internet Financial, Inc.                                     exotic / Pier3 Ventures Limited
Clover                                                              Exponent Founders Capital I, LP
Coderrect Inc.                                                      Exponential DeFi Inc
Cogni                                                               FairSide
Coin98                                                              Fanatics
Coinfeeds / Docsi18n                                                Faraway
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Fern Labs Inc                                                Katana Labs / Blade Labs Inc
Few and Far                                                  Keygen Labs, Inc
Figma Inc                                                    Kollider
Float Capital / Rubin Global Ltd                             Kos Therapeutics Inc
Flourishing Humanity Corporation Ltd                         Kraken Ventures Fund I LP
Fluence Labs                                                 Kresus
Friktion                                                     KTR Group Corporation
Frosted Inc                                                  Kwil Inc
Fuel / Layer‐2 Development Corp.                             Lake Nona Fund / LN Sports & Health Tech Fund I, LP
FYI.FYI, Inc                                                 LayerZero
Galaxy Protocol (Galxe)                                      LayerZero Labs Ltd
GamerGains                                                   Lemon Cash
GamesPad                                                     Lexidus
GENESIS DIGITAL ASSETS LIMITED                               Lido
Geniome (FBH Corporation)                                    Lifelike Capital
Genopet / WITTY ELITE LIMITED                                Lightspeed Faction
GetMati                                                      Limit Break
GetPIP Web3.0 / Prime Round Ltd                              Liquality
GGX Protocol Limited / GGX Token                             Liquid 2 Venture Fund III L.P.
Global Illumination                                          Liquid Group Inc
GOG (Guild of Guardians)                                     Liquid Value Fund I LP
GuildFi / CRYPTOMIND LAB PTE. LTD                            Liquity
Harbor Systems Inc                                           LiveArtX
Hashflow / Qflow                                             Loan Transactions and Technology LLC / Edge Tradeworks
Hawku                                                        Lonely Road
HedgeHog                                                     Luxon / LXN
Helix Nanotechnologies                                       Magic Eden
Hidden Road Inc                                              Name On File
HODL                                                         Manifold Markets
HOLE Tokens                                                  Manta
http://Contxts.io / NFT Bank                                 Mask Network / MASKBOOK
http://Solsniper.xyz (Sniper Labs)                           Matonee Inc
http://tsm.gg/ (Swift Media Entertainment Inc)               Mavia
http://wum.bo/                                               MCDEX
https://syndica.io/                                          MEOW
HyperNative Inc                                              Mercurial
IEX                                                          Merge
ImmutableX Token Prorata                                     Messari
Impossible Finance                                           MetaLink
Innovatia Ltd                                                Metaplex
IO Finnet                                                    MetaTheory
IOSG Fund II LP                                              Metaversus / Combat Lab, Inc
IP3 Cripco (Line Friends)                                    Mina
Ivy Natal                                                    Mirror World
Jafco SV4 Investment Limited                                 MobileCoin
Jambo / Project Chill Limited                                Modulo Capital Inc
Jet Protocol                                                 Mojo
Jet Tech                                                     Momentum Safe Inc
Jito Labs Inc                                                MONACO / BetDEX / STRAMASH PROTOCOL LTD.
Juiced / Basis Yield Corp                                    Monkey Kingdom / Kingdom Metaverse Limited
JUMBO.EXCHANGE                                               MonkeyBall
Juppiomenz                                                   Mount Olympus Capital LP
JustWontDie Ltd                                              Move Labs
K5 Global                                                    MPL
Kariya Kayamori                                              Multicoin Venture Fund II
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Multicoin Venture Fund III                                  Red Sea Research
MultiSafe/ Coinshift                                        REF
Mysten Labs                                                 Rejuveron
Mythical Games                                              Resonant Health Inc
Nas Education Pte Ltd                                       Revault
NEAR                                                        Rockbird LLC
Nestcoin                                                    Rocket
New Gen Minting LLC                                         Roco Finance
Nifty Island                                                Rok Capital Offshore Fund Ltd
Nod Labs, Inc.                                              ROUTER PROTOCOL / Kailaasa Infotech Pte Ltd
NodeGuardians                                               Saddle Finance / Incite Technologies Inc
Nural Capital                                               SahiCoin
O'daily News                                                Salad Ventures Ltd
Offchain Labs                                               Samudai
Only1                                                       Samuel Bankman‐Fried
Open Loot Ecosystem Fund I Ltd.                             Satori Research
Optim                                                       Scopely
Orderly                                                     SEBA Bank
OTC Service Ltd / OTC Service AG                            SECRET Network / Enigma MPC, Inc.
OTOY International                                          SecureSave
OVEX                                                        Senate
Owner.com                                                   Sequoia Capital Fund, L.P.
Pacer                                                       SH Fund, LP
Pangea Cayman Fund I Ltd                                    Sherlock Bioscience
Paradigm One (Cayman) Feeder LP                             Sidus
Parallel Finance                                            SifChain
Parastate                                                   Sintra
Paraswap                                                    Sipher
Paxos                                                       Size
Pembrock                                                    Sky Mavis (Axie Infinity)
Perion / BUZZ DEVELOPMENT INC                               Skybridge
Phastasia                                                   Slope
PINE                                                        Snickerdoodle Labs
Pionic (Toss)                                               Soba Studios / Good Game Inc
Pixelynx                                                    SOJ Trading Ltd (JoePEGS NFT Project)
PlanetQuest                                                 Solana Restricted Token Purchase
Platform Lifesciences Inc                                   SolCial / Social Research
Play Up                                                     Solend / Concurrent C Inc
Point                                                       SolFarm
Point Up                                                    Solice
Polygon Network                                             Solidus
Pontem Network                                              Solrise
Pontis ‐ ZK Oracle (42 Labs INc)                            Solscan
Port Finance / Contrarian Defi LLC                          SolStarter
Pragma                                                      Sommelier
Protego                                                     SperaX
Pstake                                                      Spruce Systems Inc
Psyoption                                                   Stacked
QP‐Fund I, a series of Generalist Capital, LP               Star Atlas
Questbook / CreatorOS                                       Stargate (LayerZero)
Race Capital II                                             Starkware
Rainmaker                                                   Step Finance
Ratio Finance                                               StepN (Find Satoshi Lab)
Rebittance (SCI)                                            Stocktwits
Receipts Depositary Corporation                             Stoke Space
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Storybook                                              Zenlink
SubSocial                                              zero one
Subspace Network                                       Zeta
Sugarwork                                              ZKlend / BLUE HORIZON GLOBAL CORP
Sui Token Warrant (FTX Ventures)                       ZKX / LTIC, Inc.
Sundaeswap                                             ZRO (LayerZero)
SupraOracle / ENTROPY PROTOCOL LTD.                    Zubr Exchange Ltd
Swim                                                   Joint Provisional Liquidators
SwitchBoard                                            Brian C. Simms
Swoop                                                  Holland & Knight LLP
Symmetry                                               Kevin G. Cambridge
Synthetify                                             Peter Greaves
T Tauri Ltd ‐ Token Purchase Agreement                 Richards, Layton & Finger, P.A.
Tactic / Spoak Inc                                     White & Case
Taki Network Pte Ltd                                   Known Affiliates ‐ JV
Taleverse                                              Alameda Systems Inc.
TaxBit                                                 Blockfolio Holdings, Inc.
Telis Bioscience                                       CM‐Equity AG
The Giving Block                                       Concedus Digital Assets
Thirdverse                                             Embed Clearing LLC
TipLink                                                Embed Financial Technologies Inc
Tools For Humanity                                     FTX Australia Pty Ltd
Tortuga                                                FTX Bahamas Ventures Ltd
Torus                                                  FTX Capital Markets LLC
Toy Ventures                                           FTX Derivatives Gmbh
TradeWind                                              FTX Digital Markets Ltd
TripleDot                                              FTX Express Pty Ltd
TrueFi                                                 FTX Foundation, Inc.
Trustless Media                                        FTX Malta Gaming Services Limited
TrySpace / SPACE Metaverse AG                          FTX Malta Holdings Ltd.
TTAC                                                   FTX Vault Trust Company
Twilight / Cyberprep Corp                              LedgerX LLC
Umee                                                   Salameda Ltd
UVM Signum Blockchain Fund VCC                         Landlords
UXD                                                    101 Second Street, Inc.
VALR Proprietary Limited                               1450 Brickell, LLC
VerifyVASP Pte. Ltd.                                   Albany Resort Operator Ltd.
Vibe Labs Inc.                                         Blue Hole Real Estate Holdings Ltd.
Virtualness Inc                                        Boca Pay
VolMex                                                 Bond Collective
VolumeFi Software, Inc.                                Brickwell Owner LLC
Vosbor                                                 Heckler Investments (Bahamas) Ltd.
VOYAGER DIGITAL LTD.                                   Javari Ltd.
VY DHARANA EM TECHNOLOGY FUND, L.P.                    Madison Real Estate Ltd.
VY SPACE                                               Newwave Bahamas Inc.
VY Space II LP                                         S3 Ocean View Limited
Vybe                                                   The Executive Center
WAEV                                                   The Metropolitan Square Associates LLC
Wave Mobile Money Holdings                             WeWork Companies LLC
Wordcel                                                W‐SF Goldfinger Owner VIII, L.L.C.
Xdefi                                                  Litigation
X‐Margin                                               Name On File
Xterio                                                 Different Rules, LLC
Yuga Labs (BAYC)                                       Name On File
Zebec                                                  Group One Holdings Pte Ltd
{1368.002‐W0069413.}                         10
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Name On File                                             Significant Competitors
Marisa Mcknight                                          Binance
ONE Studios Pte Ltd                                      BlockFi, Inc.
Ordinary Course Professionals                            Coinbase
ABNR                                                     Crypto.com
Anderson Mori & Tomotsune                                Gemini
Anthony Astaphan                                         Kraken
Antis Triantafyllides                                    KuKoin
Appleby                                                  Surety & Letters of Credit
ARIFA                                                    Lockton Insurance Brokers, LLC
Armanino LLP                                             Philadelphia Indemnity Insurance Company
Arthur Cox                                               RLI Insurance Co.
Baker McKenzie                                           Sompo International
Baptista Luz                                             Taxing Authority/Governmental/Regulatory Agencies
Bär & Karrer                                             Alaska Department of Commerce, Community, and
Binder Grösswang                                         Economic Development
BlackOak                                                 Amber Eutsey
Clayton Utz                                              Anne Cappelli
Clement Maynard & Co                                     Arizona Department of Insurance and Financial Institutions
CMS Legal ‐ Italy                                        Arkansas Securities Department
Covington & Burling LLP                                  Aurora Fagan
Durukan Partners                                         Bahamas ACP Secretariat
Fenwick & West                                           Bahamas Agricultural & Industrial Corporation (BAIC)
Gibson Dunn                                              Bahamas Bureau of Standards and Quality (BBSQ)
Gorriceta Africa Cauton & Saavedra                       Bahamas Development Bank
Hadef & Partners                                         Bahamas Electricity Corporation (BEC)
Hogan Lovells                                            Bahamas Environment Science and Technology Commission (BEST)
Kim & Chang                                              Bahamas Investment Authority
King & Spalding LLP                                      Bahamas Trade Commission
King Wood Mallesons                                      Bahamasair Holding Ltd
Kramer Levin                                             Bank of The Bahamas
Latham & Watkins                                         Bo Fears
Lenz & Staehelin                                         Brandi Smith
Lexcomm Vietnam                                          Brock Jensen
Loyens&Loeff                                             Bryan Hsueh
McCarthy Tetrault                                        Business Licence ‐ Valuation Unit (Bahamas)
MLL Meyerlustenberger Lachenal Froriep Ltd               Campbell McLaurin
Nishit Desai                                             Catherine Reyer
Norton Rose                                              Central Bank of The Bahamas
Olaniwun Ajayi                                           Christopher German
Peter Maynard                                            Clifford Charland
Piper Alderman                                           Commodity Futures Trading Commission
Prager Metis CPA's, LLC                                  Compliance Commission (Bahamas)
Ronny Domröse                                            Corey Krebs
Schurti Partners                                         Craig Christensen
Shardul Amarchand Mangaldas                              Cyprus Securities and Exchange Commission
Silicon Valley Accountants                               Danielle Sassoon
Slaughter & May                                          David Berland
TSN LIMITED                                              David Buchalter
Walkers                                                  David O’Brien
WilmerHale                                               David Venerables
Other Significant Creditors                              Delaware State Treasury
BITVO Inc.                                               Department of Insurance and Financial Services
Celsius Network LLC                                      Department of Justice ‐ Computer Crime and Intellectual Property
FTX Ventures Partnership                                 Section
{1368.002‐W0069413.}                           11
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Department of Justice ‐ National Crypto Currency Enforcement Team   New Jersey Department of Banking and Insurance
Department of Justice ‐ Southern District of New York               New York Department of Financial Services
Department of Justice ‐ US Attorney Southern District of Florida    Nicolas Roos
Department of Labour (Bahamas)                                      Nina Ruvinsky
Department of Local Government (Bahamas)                            North Carolina Department of Commerce
District of Columbia Department of Insurance, Securities and        North Carolina Department of Justice
Banking                                                             North Dakota Department of Financial Institutions
Drew Stillman                                                       Office of Internal Audit (Bahamas)
Dubai Virtual Assets Regulatory Authority                           Office of the Attorney General & Ministry of Legal Affairs (Bahamas)
Dustin Physioc                                                      Office of the Auditor General (Bahamas)
Elizabeth Pendleton                                                 Office of the Data Protection Commissioner (Bahamas)
Erin Wilk                                                           Office of the Prime Minister (Bahamas)
Ethan McLaughlin                                                    Ohio Department of Commerce
Financial Intelligence Unit (Bahamas)                               Ontario Securities Commission
FINMA SRO‐Treuhand Suisee                                           Oregon Division of Financial Regulation
Florida Office of Financial Regulation                              Patricia Straughn
Georgia Department of Banking and Finance                           Paul Balzano
Gibraltar Financial Services Commission                             Peter Frank
Hawaii Department of Commerce and Consumer Affairs                  Peter Marton
Hong Kong Securities & Futures Commission                           Registrar Generals Department (Bahamas)
House Committee on Oversight and Reform                             Rhode Island Department of Business Regulation Financial Services
Idaho Department of Finance                                         Richard Childers
Illinois Department of Financial and Professional Regulation        Samuel Fuller
Ingrid White                                                        Samuel Raymond
Internal Revenue Service                                            Sara Cabral
Iowa Division of Banking                                            Secretary of State
Iris Ikeda                                                          Securities and Exchange Commission
Jack McClellan                                                      Securities Commission of The Bahamas
James Westrin                                                       South Dakota Division of Banking
Japan Financial Services Agency                                     State of Connecticut Department of Banking
Jason Gworek                                                        Stephanie Ryals
Jay Kim                                                             Steven Buchholz
Jeanju Choi                                                         Supreme Court (Bahamas)
Jeffrey Loimo                                                       Tammy Seto
Jennifer Biretz                                                     Texas Department of Banking
Jesse Moore                                                         Thane Rehn
Jesse Saucillo                                                      The Department of Inland Revenue (Bahamas)
Jessica Peck                                                        The Foreign Account Tax Compliance Act (FATCA) (Bahamas)
Jesus (/Jesse) Saucillo                                             The National Insurance Board
Jonathan Misk                                                       Tom Stevens
Jonathan Vruwink                                                    Treasury Department (Bahamas)
Karyn Tierney                                                       Utilities Regulation & Competition Authority (URCA) (Bahamas)
Kelley Reed                                                         VAT Bahamas
Kevin Webb                                                          Vermont Department of Financial Regulation
Kristen Anderson                                                    Virginia Bureau of Financial Institutions
Kristin Rice                                                        Washington State Department of Financial Institutions
Lucinda Fazio                                                       Zak Hingst
Mark Largent                                                        U.S. Trustee Office
Maryland Department of Labor                                        Andrew R. Vara
Matthew Dyer                                                        Benjamin Hackman
Michigan Department of Insurance and Financial Services             Christine Green
Ministry of Finance (Bahamas)                                       Denis Cooke
Ministry of Works and Utilities (Bahamas)                           Diane Giordano
Monetary Authority of Singapore                                     Dion Wynn
Nebraska Department of Banking and Finance                          Edith A. Serrano
{1368.002‐W0069413.}                                      12
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Hannah M. McCollum                                        Amplitude
Holly Dice                                                Amwins
James R. O'Malley                                         Anderson Kill LLP
Jane Leamy                                                Anderson Mori & Tomotsune (Japan)
Joseph Cudia                                              Andy Fisher
Joseph McMahon                                            Apple Inc.
Juliet Sarkessian                                         Apple Search Ads
Lauren Attix                                              APPSFLYER INC|C‐Corp
Linda Casey                                               Armanino
Linda Richenderfer                                        Association for Digital Asset Management, Inc.
Michael Panacio                                           Atlassian Pty Ltd
Nyanquoi Jones                                            Audio Kinetic
Ramona Harris                                             Auradine, Inc.
Richard Schepacarter                                      AVARA LABS CAYMAN HOLDINGS SEZC
Rosa Sierra‐Fox                                           Name On File
Shakima L. Dortch                                         AWS
Timothy J. Fox, Jr.                                       AYG Sales
UCC Members                                               Azora LLC
Acaena Amoros Romero                                      Bally Sports Sun
Coincident Capital International, Ltd.                    Baquet Pty Ltd
Epsilon Trading                                           Barstool Sports, Inc
GGC International Ltd.                                    Basketball Properties Ltd
Larry Qian                                                Bhouse USA LLC
Octopus Information Ltd.                                  BitGo
Pulsar Global Ltd.                                        Bleacher Report ‐ Warner Media
Wincent Investment Fund PCC Ltd.                          Blockchain Australia
Wintermute Asia PTE. Ltd.                                 BlockScore, Inc.
Zachary Bruch                                             Bloomberg
UCC Professionals                                         Boca FIA Conference
Hunton Andrews Kurth LLP                                  Bond Collective
Utilities                                                 Brasil Motorsport
AT&T                                                      Braze
Comcast                                                   Brex Credit Card
Comcast Business                                          Brinc Drones
Magic Jack                                                BSO Network Solutions Ltd
Ooma Inc.                                                 BTIG
Verizon Wireless                                          Bullish Studios
Wiline Networks, Inc.                                     Burgopak
Vendors                                                   CAA Sports ‐ Shohei Ohtani
101 Second Street, Inc.                                   CAF America
1Password                                                 Canopy Labs
2000 CENTER STREET LLC                                    Canopy RE, Inc
ABG Shaq LLC                                              Center for Applied Rationality
Abundantia Creative Llp                                   Chainalysis Inc.
ADAM                                                      Chartwell
Adobe Systems Inc.                                        CHICAGO MERCANTILE EXCHANGE INC.
Aerobic Design LLC                                        Cloudflare Inc
Ai Safety Support Ltd                                     Coachella
AIRBNB                                                    Coindesk
Akin Gump Strauss Hauer & Feld LLP                        CoinMara SAFE
Aliyun.com                                                COJO Strategies
Amazon                                                    Colormatics
Amazon Web Services (AWS)                                 Commercial Loan Clearing
American Express                                          Conaway Graves Group
Amiba Consulting                                          Conde Nast
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Congressional Leadership Fund                             GameStop
Corporate & Trust Services                                GB Solutions ‐ Geoff Bough
Creators Agency LLC                                       Gibson, Dunn & Crutcher LLP
Crypto Council for Innovation                             GitHub
CSL MOBILE LIMITED HONG KONG                              Glushon Sports Management
Dara Studios                                              GoDaddy
DATADOG, INC.                                             Golden State Warriors
Deacons Lawyers                                           Golden State Warriors Community Foundation
Denstu McGarry Bowen                                      Goldfinger
Dentsu X                                                  Google
Diablo Holdings ‐ 2000 Center                             Google Cloud Platform
Digital Finance Group Co.                                 Grafit Studios ‐ Roman Tulinov Pe
DJ Bam LLC ‐ Sunjay Matthews                              Grafted Growth
Dlocal LLP                                                Grand Prix Tickets
DLT Climate Tech, Inc.                                    Group One Holdings
Done Deal Promotions                                      Gusto
Door Dash                                                 HashPort Inc.
DoorDash US                                               Name On File
Dotdash                                                   Herman Miller Design
Drawn Sword Limited                                       Hogan Lovells International LLP
Duane Morris LLP                                          Honeycomb
E3 Technology, Inc.                                       Hotels.com
Elite Protection LLC                                      I2C In.
Elwood                                                    ICC
Emerson Estate                                            IFS Markets
Emerson Land Company                                      IKOABD LLC
Emondo design, vl. Ivana Milicic.                         Inca Digital, Inc
Epik Holdings Inc                                         INCO, LLC
Equinix                                                   India Strategic Partnership Inc.
Equinix ‐ JPY                                             Insight Direct USA Inc
Equinix INC                                               insight software CO
Equinox Group LLC                                         Investing Made Simple
Equity and Transformation                                 Invisible North
Eventus Systems, Inc.                                     ipower
EVERYWHERE WIRE                                           Isbl International Specialty Brokers Limited
Excel Sports Management                                   Jetstream Partners Limited
Facebook/Meta                                             JLL Law Firm
FACTORY PR LLC                                            Name On File
Fast Forward                                              Jorge Luis Lopez Law Firm
Federal Trade Commission FTC                              Jumio Corporation
FEDEX                                                     Justworks
Fenwick & West                                            Kandji
Fenwick & West ‐ FTX Trading Ltd                          Katten Muchin Rosenman LLP
Fenwick & West ‐ FTX US                                   Kevin Haeberle
Flatiron Labs, Inc.                                       Kim & Chang
Florida International University Foundation               King and Wood Mallesons (HK)
Flutterwave                                               Latham & Watkins LLP
Food Panda                                                Learfield
FOX BROADCASTING COMPANY                                  Ledger & Cobie Enterprises dba UpOnly
Fox Sports                                                LedgerX LLC
FULL COURT PRESS COMMUNICATIONS, INC                      Leo Trippi SA
Fullstory                                                 Name On File
Functional Software Inc, dba Sentry                       Lexis Nexis
Furia ESports LLC                                         Liftoff Mobile, Inc.
Futures Industry Association                              Light the Way ‐ The Campaign for Berkeley
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Limit Break                                                  Osler, Hoskin & Harcourt LLP
Lincoln Place Inc.                                           OtterSec LLC
Lockton Insurance Brokers, LLC                               PCCW Netvigator Now
Looker (Google LLC)                                          Perkins Coie LLP
Lorem Ipsum ‐ AP                                             Pickle Software LLC
Lowenstein Sandler LLP                                       Piper Alderman Law
Lunch Money Group Inc ‐ Anthony Pompliano                    Plaid Financial Ltd.
M Group                                                      Play Magnus AS
Maerki Baumann Und Co.                                       Playground Ventures
Mammoth Media, Inc.                                          Playup Limited
Max Maher Show LLC                                           Pomp Podcast ‐ Lunch Money Group
Maxlaw Global                                                Pricewater House Coopers LLP
Mayfield XV                                                  Prime Trust LLC
McCarthy Tetrault                                            Print Run Promotions LTD
McGarry Bowen, LLC                                           Printfection
Medium Rare Live                                             ProCo Global, Inc. d/b/a Chartwell Compliance
Mercedes‐Benz Grand Prix Limited                             PSYOP Productions LLC
Message Global                                               PWC ‐ S.A. Evangelou and Co LLC
Meta Platforms, Inc.                                         QReg Advisory Limited
MG Trust                                                     Quicknode
Miami Dade County                                            Quinn Emanuel Urquhart & Sullivan, LLP
Miami Heat Limited Partnership                               R8G UK Limited
Name On File                                                 Rational 360
MicroLedgers                                                 Raybloch
Microsoft                                                    Reddit
Microsoft Advertising                                        Redmond Construction Group
Microsoft Online Inc                                         Refactor Capital
MLB Advanced Media                                           Refinitiv
Name On File                                                 Refinitiv US, LLC
Monumental Sports and Entertainment Foundation               Revolut Ltd
Moon Overlord                                                Rich Feuer Anderson
Mooncolony Ltd                                               Rippling
Morgan Lewis                                                 Rivers & Moorehead PLLC
Morrison and Foerster LLP                                    Robert Lee & Associates, LLP
MPG Live                                                     Roku
NA League of Legends Championship Series LLC                 Name On File
Naomi Osaka                                                  Ruin the Game Events
nCipher Security                                             Ryan Salame
Name On File                                                 SafetyPay
Neodyme                                                      Saigon Dragon Studios
Nerd St. Gamers                                              Salameda Capital LTD
New Revolution Media                                         Name On File
Nifty Metaverse Inc                                          SALT Venture Group LLC
Nishith Desai Associates                                     Sardine Ai
NJ Scholars                                                  Sc30 Inc.
NP Digital                                                   Scratchy Productions, Inc.
NYSE                                                         Sentry
Office Revolution                                            Sequor Trends Limited|Foreign Vendor
OIC of South Florida                                         Serendipity Consulting
O'Leary Productions Inc.                                     Shadow Lion
One Workplace L. Ferrari                                     Sidley Austin LLP
Open Fortune ‐ Fortune Media                                 Sierra Wireless
OPUS Partners Co. Ltd                                        Signature Bank
Orrick, Herrington & Sutcliffe LLP                           Siimpl ‐ Firesight Technologies
Osaka Exchange                                               Silver Miller
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Skadden, Arps, Slate, Meagher & Flom LLP                TOP Worldwide, LLC
Skyline Construction                                    TransPerfect (Chancery Staffing)
Slack Technologies, Inc                                 Treasury Forfeiture Fund
Snap Inc                                                Tribe Payments Ltd
Sol Stores                                              Trident
Solana Spaces                                           TriNet
Solidus Labs                                            Trip Actions, Inc.
Spiralyze LLC                                           Triton One Limited
SSB Trust                                               TRM Labs, Inc.
Stanford Law School                                     Turner Digital AD Sales (INC)
Stripe, Inc.                                            Twilio
Sullivan & Cromwell LLP                                 Twitter
Swift Media Entertainment ‐ TSM FTX                     Two More Glasses
Swift Media Entertainment Inc.                          UBS Financial Services Inc
TagNitecrest Ltd                                        UJH Enterprise, Inc
Takashi Hidaka                                          Underground Creative
Takedown Media                                          United Healthcare
Talent Resources Sports                                 USI
TaxBit                                                  Valuz LLP
Teknos Associates LLC                                   VARA
Tevora                                                  Name On File
The Block Crypto                                        VKR Insights
The Drop Media                                          Wasserman
The Drop NFT Media, Inc                                 Wasserman ‐ Operating
The Executive Centre                                    Wasserman Client Trust
The Executive Centre Singapore Pte Ltd                  We Are One World
THE GOODLY INSTITUTE                                    Weekly Open
The Metropolitan Museum of Art                          West Realm Shires Services Inc
The Working Policy Project                              West Realm Shires, Inc. WRS
Thirdverse, Co, Ltd                                     WH Sports
TigerWit                                                Wifi Bread
TikTok                                                  William Trevor Lawrence dba MMBOC, LLC
Time Magazine                                           Willkie Farr & Gallagher LLP
Time Magazine UK LTD                                    WME Entertainment
Name On File                                            Wondros
Name On File                                            W‐SF Goldfinger Owner VIII, LLC
TL International                                        XReg Consulting‐ GBP
TONGLE X LLC                                            Name On File
Top Drawer Merch




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